        Case 18-17069-pmm                       Doc      Filed 07/08/22 Entered 07/08/22 11:03:16                              Desc Main
 Fill in this information to identify the case:          Document      Page 1 of 7
 Debtor 1              Malinda Laventure
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                         __________
 United States Bankruptcy Court for the: Eastern District      of __________
                                                          of Pennsylvania
                                                      District

 Case number            18-17069
                        ___________________________________________




Official Form 410S1
Notice of Mortgage Payment Change                                                                                                             12/15

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.

                                as s/b/m
                                   s/b/mtotoFirst
                                             FirstNiagara Bank N.A.N.A
                   KeyBank N.A. as                 Niagara
 Name of creditor: _______________________________________  Bank                                    4
                                                                       Court claim no. (if known): _____________________


 Last 4 digits of any number you use to                                              Date of payment change:
 identify the debtor’s account:                           5 ____
                                                         ____ 6 ____
                                                                  1 ____
                                                                      4              Must be at least 21 days after date       08/01/2022
                                                                                                                               _____________
                                                                                     of this notice


                                                                                     New total payment:                                909.74
                                                                                                                               $ ____________
                                                                                     Principal, interest, and escrow, if any

 Part 1:         Escrow Account Payment Adjustment

 1.   Will there be a change in the debtor’s escrow account payment?
          No
          Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                the basis for the change. If a statement is not attached, explain why: ___________________________________________
                __________________________________________________________________________________________________

                                                    272.78
                   Current escrow payment: $ _______________                       New escrow payment:                   280.06
                                                                                                               $ _______________


 Part 2:         Mortgage Payment Adjustment


 2.   Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
      variable-rate account?
          No
          Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why: _______________________________________________________________________________
                __________________________________________________________________________________________________

                   Current interest rate:         _______________%                 New interest rate:          _______________%

                   Current principal and interest payment: $ _______________       New principal and interest payment: $ _______________


 Part 3:         Other Payment Change

 3.   Will there be a change in the debtor’s mortgage payment for a reason not listed above?
          No
          Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                (Court approval may be required before the payment change can take effect.)

                   Reason for change: ___________________________________________________________________________________

                   Current mortgage payment: $ _______________                     New mortgage payment: $ _______________


Official Form 410S1                                          Notice of Mortgage Payment Change                                            page 1
      Case 18-17069-pmm                              Doc          Filed 07/08/22 Entered 07/08/22 11:03:16                                Desc Main
                                                                  Document      Page 2 of 7

Debtor 1          Malinda Laventure
                 _______________________________________________________                       Case number   (if known)   18-17069
                                                                                                                          _____________________________________
                 First Name      Middle Name              Last Name




 Part 4:         Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
 telephone number.
 Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
 knowledge, information, and reasonable belief.



  /s/Reilly Fiske
     _____________________________________________________________
     Signature
                                                                                               Date    07/08/2022
                                                                                                       ___________________




 Print:             Reilly Fiske
                    _________________________________________________________                  Title   Senior Specialist
                                                                                                       ___________________________
                    First Name                      Middle Name         Last Name



 Company            KeyBank N.A. as s/b/m to First Niagara Bank N.A.
                    _________________________________________________________



 Address            4910 Tiedeman Road
                    _________________________________________________________
                    Number                 Street

                    Brooklyn                         OH      44144
                    ___________________________________________________
                    City                                                State       ZIP Code



 Contact phone      866-325-9723
                    ________________________
                                                                                                       bk_specialists@keybank.com
                                                                                               Email ________________________




Official Form 410S1                                                   Notice of Mortgage Payment Change                                                page 2
            Case 18-17069-pmm                       Doc     Filed 07/08/22 Entered 07/08/22 11:03:16                                    Desc Main
                   KeyBank
                                                            Document      Page 3 of 7                                                  Page 1 of 4




                                                                                                                                                              \ÇðÆ\
                   Mortgage Loan Servicing
                   4910 Tiedeman Rd

                   OH-01-MS-SER1
                   Brooklyn, OH 44144                                                                                   June 24, 2022

                                                                                                     ESCROW ACCOUNT

                                                                                                DISCLOSURE STATEMENT
                                                                                                (IF YOU HAVE NOT RECEIVED A COUPON BOOK OR

                                                                                                BILLING STATEMENT IT WILL ARRIVE SHORTLY, UNLESS

      ANTHONY FIVEK                                                                             YOU ARE ON AUTODRAFT.)

      6349 CHAPMANS RD
      ALLENTOWN                 PA 18106-9260




                                PLEASE REVIEW THIS STATEMENT CLOSELY-YOUR MORTGAGE PAYMENT MAY BE AFFECTED
          Please retain this statement for comparison with the actual activity in your account at the end of the next escrow accounting computation year.



                                ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT- ACCOUNT HISTORY


          THIS IS A STATEMENT OF ACTUAL ACTIVITY IN YOUR ESCROW ACCOUNT FROM                          AUG 2021      THROUGH JUL 2022         (LAST YEAR'S

          PROJECTIONS ARE NEXT TO THE ACTUAL ACTIVITY.)


LOAN NUMBER:               xxxxxxxx5614                       AUG 2021    THRU       JUL 2022



PAST YEARS PAYMENTS BREAKDOWN:                        PRINCIPAL & INT                                                         629.68


                                                      ESCROW                                                                  272.78


                                                      TOTAL PAYMENT:                                                          902.46




                 PAYMENTS        To ESCROW                            PAYMENTS   FROM     ESCROW                                       ESCROW     BALANCE

MONTH           PROJECTED              ACTUAL         PROJECTED         DESCRIPTION             ACTUAL          DESCRIPTION      PROJECTED              ACTUAL


STARTING       BALANCE                                                                                                                 2,063.75         (1,426.10)




AUG                   272.78              615.56           1,790.97   SCHOOL TAX                            *SCHOOL TAX                 545.56          (2,600.97)
                                                                                                 1,790.43

SEP                   272.78              615.56               0.00                                                                     818.34          (1,985.41)
                                                                                                     0.00

OCT                   272.78              307.78               0.00                                                                    1,091.12         (1,677.63)
                                                                                                     0.00

NOV                   272.78              307.78               0.00                                                                    1,363.90         (1,369.85)
                                                                                                     0.00

DEC                   272.78              307.78               0.00                                                                    1,636.68         (1,062.07)
                                                                                                     0.00

JAN                   272.78                 0.00              0.00                                                                    1,909.46         (1,062.07)
                                                                                                     0.00

FEB                   272.78              615.56               0.00                                                                    2,182.24             (446.51)
                                                                                                     0.00

MAR                   272.78              307.78               0.00                                                                    2,455.02             (138.73)
                                                                                                     0.00

APR                   272.78              307.78               0.00   HAZARD INSUR                          *HAZARD INSUR              2,727.80             (833.95)
                                                                                                 1,003.00

MAY                   272.78              853.34            454.16    COUNTY TAX                            COUNTY TAX                 2,546.42             (434.77)
                                                                                                  454.16

MAY                      0.00                0.00           125.16    TWN/TWNSHP/S                          *TWN/TWNSHP/S              2,421.26             (547.92)
                                                                                                  113.15

JUN                   272.78           2,455.02             903.00    HAZARD INSUR                          *#HAZARD INSUR             1,791.04          1,907.10
                                                                                                     0.00

JUL                   272.78              272.78               0.00                                         #                          2,063.82          2,179.88
                                                                                                     0.00


TOTALS:            $3,273.36          $6,966.72           $3,273.29                             $3,360.74


LAST YEAR, WE ANTICIPATED THAT PAYMENTS FROM YOUR ESCROW ACCOUNT WOULD BE MADE DURING THIS PERIOD EQUALING $3,273.29 . UNDER FEDERAL

LAW, YOUR ACTUAL LOWEST MONTHLY BALANCE (LP) SHOULD NOT HAVE EXCEEDED $545.55 OR 1/6 OF THE ANTICIPATED PAYMENTS FROM YOUR ESCROW

ACCOUNT, UNLESS YOUR MORTGAGE DOCUMENTS OR STATE LAW SPECIFIES A LOWER AMOUNT.


.AN ASTERISK (*) INDICATES A DIFFERENCE       IN EITHER THE AMOUNT OR DATE OF THE ANTICIPATED PAYMENTS FROM ESCROW AND THE ACTUAL PAYMENTS

FROM ESCROW. THE INFORMATION PROVIDED DOES NOT REQUIRE ANY ACTION ON YOUR PART. IF YOU HAVE ANY QUESTIONS, PLEASE CALL OUR TOLL FREE

NUMBER 1-800-422-2442.


# = THIS YEAR PROJECTED AMOUNTS




                                                          (Continued on Reverse side of Page)
            Case 18-17069-pmm                  Doc        Filed 07/08/22 Entered 07/08/22 11:03:16                                Desc Main
                                                          Document      Page 4 of 7                                              Page 2 of 4




NAME:           ANTHONY FIVEK                                                                     Continue of Account:        xxxxxxxx5614
                                                                                                  For ESCROW DISCLOSURE STATEMENT




                                ANNUAL ESCROW ACCOUNT DISCLOSURE STATEMENT- PROJECTIONS


               THIS IS AN ESTIMATE OF ACTIVITY IN YOUR ESCROW ACCOUNT DURING THE COMING YEAR BASED ON

               PAYMENTS ANTICIPATED TO BE MADE FROM YOUR ACCOUNT.


LOAN NUMBER:       xxxxxxxx5614                               Aug 2022      THRU       JUL 2023



                   ********* PROJECTED ESCROW     DISBURSEMENTS ****


               TAXES                                                      1,790.43

               COUNTY TAX                                                  454.16

               TAXES                                                       113.15

               HAZARD INS                                                 1,003.00


TOTAL PROJECTED ESCROW DISBURSEMENTS:                                     3,360.74   ESCROW PAYMENT CALCULATION:                 $3360.74 / 12 = 280.06




                                                         ----------------PROJECTED PAYMENTS --------------              --------ESCROW     BALANCE--------

MONTH           TO ESCROW           FROM ESCROW         DESCRIPTION                                                           REQUIRED           PROJECTED



STARTING     BALANCE                                                                                                            2,070.49              2,179.88


AUG                    280.06                1,790.43   SCHOOL TAX                                                               560.12                   669.51


SEP                    280.06                    0.00                                                                            840.18                   949.57


OCT                    280.06                    0.00                                                                           1,120.24              1,229.63


NOV                    280.06                    0.00                                                                           1,400.30              1,509.69


DEC                    280.06                    0.00                                                                           1,680.36              1,789.75


JAN                    280.06                    0.00                                                                           1,960.42              2,069.81


FEB                    280.06                    0.00                                                                           2,240.48              2,349.87


MAR                    280.06                    0.00                                                                           2,520.54              2,629.93


APR                    280.06                    0.00                                                                           2,800.60              2,909.99


MAY                    280.06                 454.16    COUNTY TAX                                                              2,626.50              2,735.89


MAY                      0.00                 113.15    TWN/TWNSHP/S                                                            2,513.35              2,622.74


JUN                    280.06                1,003.00   HAZARD INSUR                                                            1,790.41              1,899.80


JUL                    280.06                    0.00                                                                           2,070.47              2,179.86


TOTALS:            $3,360.72                $3,360.74




CUSHION SELECTED BY SERVICER:      560.12




YOUR ENDING ESCROW BALANCE FROM THE LAST MONTH OF THE ACCOUNT HISTORY IS $2,179.88, YOUR STARTING BALANCE ACCORDING TO THIS ANALYSIS

SHOULD BE $2,070.49. THIS MEANS YOU HAVE A SURPLUS OF $109.39. WE HAVE DECIDED TO RETAIN THE SURPLUS BECAUSE OF DELINQUENCY.



PLEASE    KEEP THIS STATEMENT    FOR COMPARISON WITH THE        ACTUAL ACTIVITY IN    YOUR ACCOUNT AT        THE   END OF   THE NEXT ESCROW ACCOUNTING

COMPUTATION YEAR.




                                                        (Continued on Reverse side of Page)
         Case 18-17069-pmm              Doc      Filed 07/08/22 Entered 07/08/22 11:03:16                     Desc Main
                                                 Document      Page 5 of 7                                   Page 3 of 4




                                                                                                                                \ððñ\
NAME:        ANTHONY FIVEK                                                          Continue of Account:   xxxxxxxx5614
                                                                                    For ESCROW DISCLOSURE STATEMENT




BELOW IS YOUR NEW MONTHLY PAYMENT BREAKDOWN FOR THE NEXT 12 MONTHS EFFECTIVE                  08/01/22


             PRINCIPAL & INT                                                                 629.68

             ESCROW                                                                          280.06

             ADJUSTMENT                                                                        0.00


             TOTAL                                                                           909.74




Hazard Insurance – You must carry hazard insurance in accordance with the terms of your loan. The mortgagee clause on your
insurance policy must read as follows KeyBank National Association, its successors and assigns, PO Box 1868, Kennesaw GA
30156. If your loan is through State of New York Mortgage Agency (SONYMA) your mortgagee clause must read as: State of New
York Mortgage Agency, C/O KeyBank National Association, its successors and assigns, PO Box 1868, Kennesaw GA 30156. If at
any time we do not receive acceptable proof of property insurance in force, we will secure such property insurance at your expense.
The insurance may be more expensive and not provide as much coverage as you could obtain on your own. If you incur an
insurance loss, contact your local branch upon receipt of a settlement check and estimate of damage. Settlement check will include
the bank as payee.
Flood Insurance – Flood insurance is required if your property is located in a special flood hazard area, as determined by the federal
government. The mortgagee clause on your insurance policy must read as follows KeyBank National Association, its successors and
assigns, 11501 Outlook Street, Suite 300, Overland Park KS 66211. If your loan is through State of New York Mortgage Agency
(SONYMA) your mortgagee clause must read as: State of New York Mortgage Agency, C/O KeyBank National Association, its
successors and assigns, 11501 Outlook Street, Suite 300, Overland Park KS 66211. If at any time we do not receive acceptable
proof of property insurance in force, we will secure such property insurance at your expense. The insurance may be more expensive
and not provide as much coverage as you could obtain on your own. If you incur an insurance loss, contact your local branch upon
receipt of a settlement check and estimate of damage. Settlement check will include the bank as payee.
Property Taxes- We are not notified by taxing authorities of changes of assessment or exemptions. It is important for you to notify
us of any changes so we can adjust your escrow accordingly. If you receive a tax bill, please send it to KeyBank National
Association, 4910 Tiedeman Rd, OH-01-MS-SER3, Brooklyn, OH 44144. Attn: Escrow Servicing. If you have any questions
regarding your account, please call Escrow Servicing at 1-800-422-2442.
Case 18-17069-pmm   Doc   Filed 07/08/22 Entered 07/08/22 11:03:16   Desc Main
                          Document      Page 6 of 7
Case 18-17069-pmm            Doc      Filed 07/08/22 Entered 07/08/22 11:03:16               Desc Main
                                      Document      Page 7 of 7


UNITED STATES BANKRUPTCY COURT
Eastern District of Pennsylvania (Reading)

 In Re: Malinda Laventure                             Case No. 18-17069

                                   Debtor(s).         Chapter 13



                                     CERTIFICATE OF SERVICE

         I hereby certify that on July 8, 2022, I electronically filed a Notice of Mortgage Payment Change
with the Clerk of the Bankruptcy Court using the CM/ECF system which sent electronic notification of
such filing to the following:

Debtor(s) Attorney
CHARLES LAPUTKA

Trustee
SCOTT F. WATERMAN



       And, I hereby certify that I have mailed via the United States Postal Service the Notice of
Mortgage Payment Change to the following non CM/ECF participants:


Debtor

Malinda Laventure
6349 Chapmans Road
Allentown, PA 18106



                                                       /s/Reilly Fiske
                                                       Bankruptcy Specialist
                                                       KeyBank N.A.
